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                          EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON




JACOB BEATY and JESSICA BEATY on                   Case No. 3:17-CV-05201-RBL
behalf of themselves and all others similarly
situated,
                               Plaintiffs,


                 vs.


FORD MOTOR COMPANY


                               Defendant




                       EXPERT REPORT OF JUSTIN MCCRARY, PH.D.

                                        May 24, 2019




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1. INTRODUCTION

      1.1. Qualifications

    I am an economist with expertise in economic modeling, law and economics,
and statistical methods, among other subjects. I received my A.B. in Public
Policy from Princeton University in 1996. After working at National Economic
Research Associates in White Plains, New York, and the Federal Reserve Bank
of New York from 1996-1998, I began my Ph.D. in Economics at the University
of California, Berkeley (“Berkeley”), completing the degree in June 2003. From
2003 through 2007, I was Assistant Professor of Public Policy and Assistant
Professor of Economics at the University of Michigan (“Michigan”). In January
2008, I became Assistant Professor of Law at Berkeley and was promoted to
Professor in July 2010. While at Berkeley, I taught courses on introductory,
intermediate, and advanced statistics to J.D., L.L.M., and Ph.D. students; on
law and economics to J.D. students as well as undergraduates; on labor
economics to Ph.D. students in economics and in other fields; and on business
law to J.D., L.L.M., and M.B.A. students.

   From July 1, 2017, to December 31, 2017, I took leave from Berkeley and
assumed a position as the Samuel Rubin Visiting Professor of Law at Columbia
Law School (“Columbia”). In 2018, I joined the faculty at Columbia as the Paul
J. Evanson Professor of Law, a position I hold today. At Columbia, I teach
corporations, antitrust, economics, statistics, and law and economics.

   In addition to my position as Professor at Berkeley, I served as the Founding
Director of D-Lab, the Social Sciences Data Laboratory at Berkeley, from June
2014 to June 2017. At D-Lab, I lectured on and advised graduate students and
faculty regarding high performance computing, statistical software, and
statistical techniques.

  From September 2008 until July 2014, when I began to direct the D-Lab, I
co-directed the Law and Economics Program at Berkeley Law with Robert
Cooter and Daniel Rubinfeld (2008–2011), and with Robert Cooter and Eric
Talley (2012–2014).




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  Since 2008, I have co-directed the Economics of Crime Working Group of the
National Bureau of Economic Research (“NBER”). The NBER is the
preeminent professional association of economists in the world, with over 1,400
members worldwide. I was invited to become a Faculty Research Fellow of the
NBER in 2006 and remained in that position until 2012, when I was invited to
become a Faculty Research Associate.

  As noted, I previously worked at the University of Michigan. From 2003
through 2007, I was Assistant Professor of Public Policy and Assistant
Professor of Economics. While at Michigan, I taught introductory statistics and
advanced microeconomic theory to M.P.P. students, and advanced econometric
theory to Ph.D. students.

   My research spans a range of topics, including econometric and statistical
methodology, antitrust, crime, employment discrimination, education, fertility,
financial markets, income inequality, and monetary policy. Many of my articles
have been published in leading peer-reviewed economics journals such as the
American Economic Review, the Review of Economics and Statistics, the
Journal of Economic Literature, and the Journal of Econometrics.

   In addition, I am frequently asked to review articles for the leading
economics journals, including Econometrica, the American Economic Review,
the Quarterly Journal of Economics, the Journal of Political Economy, the
Review of Economic Studies, the Journal of Econometrics, the Review of
Economics and Statistics, and the American Law and Economics Review. In
my research and as a reviewer, I have dealt with analysis of market data (e.g.,
prices, sales), survey data and with the types of statistical analysis used in
analyzing conjoint surveys.

  I have co-edited a book, Controlling Crime: Strategies and Tradeoffs, which
was published by the University of Chicago Press. Over the years, my research
has been supported by the universities at which I have taught, the Arnold
Foundation, the MacArthur Foundation, the NBER, the National Institutes of
Health, the National Science Foundation, the Robert Wood Johnson
Foundation, and the Spencer Foundation.

   I frequently provide pro bono consulting to federal, state, and local
government entities, including the U.S. Department of Justice, the California




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Department of Justice, the Equal Employment Opportunity Commission, and
the City of Chicago.

   In addition to my work as an academic and as a testifying expert, I have
experience as a consultant on a variety of matters. My consulting experience
has spanned a wide range of industries and markets, with many involving the
study and use of economics, econometrics, and statistics.

    I have served as an expert witness in a variety of litigation matters,
including matters involving consumer class actions, and provided economic
and statistical analysis on issues related to class certification, among others. I
am being compensated for my work on this matter at my standard rate of $900
per hour. I have been assisted in this matter by staff of Cornerstone Research,
who worked under my direction. I receive compensation from Cornerstone
Research based on its collected staff billings for its support of me in this matter.
Neither my compensation in this matter nor my compensation from
Cornerstone Research is in any way contingent or based on the content of my
opinion or the outcome of this or any other matter.

    A copy of my curriculum vitae, including a list of my previous testimony and
depositions, is included as Appendix A. A list of the materials I have considered
in forming my opinions is included as Appendix B.

         1.2. Summary of Allegations

    Plaintiffs allege that the panoramic sunroofs in certain types of Ford and
Lincoln vehicles are defective, as evidenced by their alleged “propensity to
spontaneously shatter” (which Plaintiffs term “the Defect”).1 Plaintiffs claim
that Ford “knew or should have known about the Defect since at least 2008,”
failed to disclose it to consumers, and failed to issue a recall.2 Plaintiffs also
allege that Ford has “systematically denied” warranty coverage on the costs to
repair the defective panoramic sunroofs.3 The existence of the alleged Defect,
Ford’s knowledge of the alleged Defect, and Ford’s alleged failure to disclose the
alleged Defect and issue a recall are referred to herein collectively as the

1 Class Action Complaint, Jacob Beaty and Jessica Beaty vs. Ford Motor Company, March 16, 2017

(“Complaint”), ¶ 4. Plaintiffs define panoramic sunroofs as sunroofs that “account for nearly the entire roof of
the vehicle” and state that Ford calls the sunroofs at issue “Panoramic Sunroofs, Panoramic Vista Roofs, Dual
Panel Moonroofs, or Power Monroofs depending on the vehicle model.” Complaint, ¶ 2. Throughout this report,
I use the term “panoramic sunroofs” to refer to the sunroofs at issue in this case.
2 Complaint, ¶¶ 4, 7, 10.

3 Complaint, ¶¶ 67–68.




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“Challenged Conduct.” Plaintiffs further allege that “[h]ad Plaintiffs and the
Class known of the Defect, they would not have purchased (or would have paid
substantially less for) their Class Vehicles.”4

   Plaintiffs propose a class of all “consumers who purchased or leased Ford
vehicles with panoramic sunroofs, or in the alternative all Washington
consumers.”5 Plaintiffs claim that the following six vehicle models are in the
proposed class:6

    •    2007-2014 Ford Edge
    •    2013-2017 Ford Escape
    •    2011-2017 Ford Explorer
    •    2007-2015 Lincoln MKX
    •    2010-2017 Lincoln MKT
    •    2009-2016 Lincoln MKS.

         1.3. Assignment

    I have been asked by counsel for Ford to:

    •    Evaluate whether the proposed conjoint analysis approach put forth by
         Plaintiffs’ experts, Mr. Gaskin and Mr. Weir (“Proposed Conjoint
         Method”), is capable of determining the harm, if any, experienced by
         individual class members or the class-wide harm to the proposed class, if
         any, due to the Challenged Conduct.


    •    Use real-world data from actual market transactions to evaluate whether
         injury or damages due to the Challenged Conduct can be assessed using a
         common, formulaic method or whether it would require individual
         inquiry of class members.




4 Complaint, ¶ 111. Plaintiffs similarly allege that, “Plaintiffs and the other Class Members bought or leased Class

Vehicles they otherwise would not have, overpaid for their vehicles, did not receive the benefit of their bargain,
and their Class Vehicles suffered a diminution in value.” Complaint, ¶ 101.
5 Complaint, ¶ 11.

6 Stipulated Motion to Amend the Class Definition And Proposed Order, Jacob Beaty and Jessica Beaty vs. Ford

Motor Company, March 27, 2019, pp. 1–2.


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         1.4. Summary of Opinions

    Based on my analyses and review of the evidence, I find that:

    •    Real-world market data are useful in assessing the harm, if
         any, due to the Challenged Conduct. Such data are also useful
         in assessing whether the Challenged Conduct would have a
         common impact across class members. Real-world market data
         show the prices paid by individual consumers in actual transactions, and
         thus, account for both supply and demand factors. Additionally, since
         these data record individual transactions, they are well suited to
         investigate issues related to heterogeneity across class members.


    •    The approach proposed by Mr. Gaskin and Mr. Weir, which
         does not utilize real-world market data, cannot determine
         class-wide harm. Mr. Gaskin’s proposed conjoint survey analysis can,
         at most, provide an estimate of the difference in consumer willingness to
         pay for a sunroof with and without a specific alleged defect. Mr. Weir’s
         proposed class-wide “overpayment damages” calculation then multiplies
         (i) the difference in average willingness to pay obtained from the
         conjoint analysis by (ii) the total sales of at-issue vehicles.7 However,
         consumer willingness to pay is different from and typically higher than
         the market price of the product feature. The market price depends on
         the intersection of demand and supply, and contrary to the claims of
         Plaintiffs’ experts, their proposed approach does not take into account
         relevant supply side factors. As a result, their proposed approach cannot
         determine how market prices or purchase decisions would have changed
         had Ford disclosed the alleged defect.


    •    The approach proposed by Mr. Gaskin and Mr. Weir does not
         attempt to determine the harm experienced by individual class
         members. Mr. Weir’s proposed damages calculation utilizes the
         difference in average willingness to pay for a sunroof with and without a
         specific alleged defect. The average is taken across the participants in

7 Mr. Weir uses the term “overpayment percent” for the conjoint survey result that he uses as an input to his

damages calculation. Mr. Weir uses a single number for this percent, which is an average across survey
participants, and which he multiplies by vehicle sales to obtain “overpayment damages.” Expert Report of Colin
B. Weir, February 22, 2019 ("Weir Report"), ¶ 51. I refer to it as the “percentage change in [consumer]
willingness to pay” because it is not based on actual prices reflecting supply and demand factors, so it does not
measure a price overpayment. Multiplying willingness to pay by vehicle sales, as Mr. Weir does, does not
overcome this issue.


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    the conjoint survey. By using the average, he masks all potential
    heterogeneity that exists across class members. His average is not
    specific to any individual class member. It is incorrect to assume that
    class members would be uniformly impacted, due to the reasons
    discussed next.


•   Transaction data and academic literature show that
    automobile prices are affected by numerous individualized
    factors, which leads to seemingly similar vehicles selling for
    drastically different prices and belies Plaintiffs’ assumption of
    uniform or common impact. Additionally, such price
    variation is substantially greater than the suggested price of a
    panoramic sunroof, implying that it would be difficult to
    distinguish from unexplained price variation any harm due to
    the Challenged Conduct. Examples of factors driving price variation
    include, but are not limited to, the condition of a used vehicle, the
    dealer’s inventory, the terms of the transaction, and the buyer’s
    information and search process. Due to such factors, even the prices of
    seemingly similar vehicles sold at the same dealership around the same
    date can vary considerably. Only an individualized inquiry can fully
    account for these factors. Plaintiffs’ experts have not analyzed any of
    these real-world data and do not attempt to account for this
    heterogeneity.


•   Plaintiffs’ proposed method of assessing harm also ignores
    that many putative class members may not have been harmed
    because of the timing of their individual transaction. For
    example, any putative class member who bought and sold an at-issue
    vehicle before there was any disclosure or knowledge of the alleged
    defect may not have suffered any diminution in value. While Mr. Weir
    contends that such a class member would have been harmed, he is
    assuming there was an overpayment at the time of the initial purchase.
    This is an empirical question that requires empirical analysis. And as I
    discuss next, the real-world market data do not show an impact of the
    alleged defect on market prices.


•   Transaction data on at-issue vehicles suggest that (i) any
    potential impact of the Challenged Conduct varies by vehicle
    type and (ii) there is no common impact due to the Challenged

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         Conduct. I perform five case studies that compare prices of at-issue
         vehicle groups to comparison groups. The economic evidence is
         inconsistent with Plaintiffs’ claims, as the at-issue vehicles tend to retain
         their value at least as well as the comparison vehicles.


2. THE PROPOSED CONJOINT METHOD CANNOT DETERMINE THE
     HARM EXPERIENCED BY INDIVIDUAL CLASS MEMBERS OR THE
     CLASS-WIDE HARM

    In this section, I first provide brief overviews of the expert reports of Mr.
Gaskin and Mr. Weir. I then explain why their methodology cannot determine
either the alleged harm experienced by individual class members or the alleged
class-wide harm.

         2.1. Overview of the Expert Reports of Mr. Gaskin and Mr. Weir

    Mr. Gaskin states that his assignment was “to design and describe a market
research survey and analysis that would … assess the reduction in market value
resulting from the defect in the panoramic vista roofs.”8 He decides on choice-
based conjoint survey analysis as “the best methodology” to address this
question.9 A conjoint survey describes a set of hypothetical products with
various features to a group of respondents who choose which product they
would hypothetically be willing to purchase.10 This method attempts to
estimate how respondents, on average, are willing to trade-off between the
features in question. Mr. Gaskin opines that the conjoint analysis he “intend[s]
to run is designed to estimate the reduction in market value (measured in
dollars and/or percentage terms) caused by the panoramic vista roof defect.”11
Mr. Gaskin does not present actual survey results, but rather, describes the
survey he intends to run.12


8 Expert Report of Steven P. Gaskin, February 22, 2019 ("Gaskin Report"), ¶ 4.

9 Gaskin Report, ¶ 4.

10 “Conjoint analysis sometimes referred to as stated preference modelling involves the use of hypothetical choice

situations generated according to the principles underlying the design of statistical experiments to measure
individuals’ preferences, examine consumer choice behavior [sic] and/or predict their choice in new situations.”
Jan Dijkstra, W. A. H. Roelen, and H. J. P. Timmermans, “Conjoint measurement in virtual environments: a
framework,” In Proceedings of 3rd Design and Decision Support Systems in Architecture and Urban Planning
Conference, vol. 1, 1996, pp. 1–13 at p. 1.).
11 Gaskin Report, ¶ 10.

12 Mr. Gaskin provides the following details on the proposed survey: It will be internet-based with an estimated

sample size of 250-300 respondents. It will include “…twelve choice tasks, each containing a choice set of three
different, hypothetical Ford SUVs that will be described by the combinations of levels of the features.” Mr.
Gaskin lists the following features (the number of alternatives he would use for each feature are in parentheses):
driver’s seat (3), steering (3), panoramic vista roof (3), comfort options (3), passenger capacity (2), foot-activated


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     Mr. Weir states that his assignment was, among other things, “to determine
whether it would be possible to calculate economic damages, if any, in this
litigation, and if so, to set forth a framework for … calculation of those
damages.”13 Mr. Weir explains that he will calculate alleged “overpayment
damages” as the “Average Purchase Price per Vehicle” times the “Conjoint
Overpayment %” times the “Number of Vehicles Sold.”14 The alleged “conjoint
overpayment percent” will be obtained from Mr. Gaskin’s conjoint survey
analysis. Mr. Weir contends that he will obtain the required sales data from
information provided by Ford, and possibly from discovery and claims
administration.15 Mr. Weir does not put forth an actual damages estimate. Mr.
Weir also opines that “[a]ll relevant data needed to complete the conjoint
analysis is Class-wide, common evidence” and that “no individualized analyses,
or Class-Member-specific inquiry is required.”16

   In summary, Plaintiffs’ experts propose to (i) use conjoint analysis to obtain
what they call an “overpayment percent” resulting from the alleged panoramic
sunroof defect, and (ii) obtain “overpayment damages” as the product of that
percent and the dollar sales of vehicles at issue.

         2.2. The Proposed Conjoint Method Cannot Estimate the Impacts on
         Average Market Prices or the Impacts on Individual Class Members

   Even assuming that Plaintiffs’ conjoint survey is correctly designed and
implemented, there are two fundamental reasons that Plaintiffs’ approach
cannot answer the question of whether individual class members were harmed
and, if so, how much.




liftgate (3), navigation system (3), driving/parking assistance (3), price (5). One key feature is the “panoramic
vista roof.” Mr. Gaskin has chosen the following three alternatives for this feature: “[vehicle] does not come
equipped with a sunroof,” “[vehicle] has a panoramic vista roof that may spontaneously break while the vehicle is
parked or in motion,” and “[vehicle] has a panoramic vista roof that will not spontaneously break under normal
driving conditions.” Gaskin Report, ¶¶ 28, 35, 42.
13 Weir Report, ¶ 7. Mr. Weir was also asked to “evaluate the suitability of a conjoint survey.” Weir Report, ¶ 7.

14 Weir Report, ¶ 51.

15 Weir Report, ¶ 48.

16 Weir Report, ¶ 20.




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2.2.1. Conjoint Analysis Estimates Consumer Willingness to Pay for a Product Feature, not the
Market Price of the Product Feature

    First, conjoint analysis, by itself, cannot determine how much the market
price of a product or product feature was affected by the Challenged Conduct.
The measure estimated by conjoint analysis is consumer “willingness to pay,”
measured in dollars, for a given product feature, which only relates to consumer
demand.17 This is different from and typically higher than the market price of
the product feature,18 because the market price depends on the intersection of
demand and supply,19 and conjoint analysis does not measure or take into
account any supply side factors.20 For that reason, their so-called
“overpayment percent” cannot measure a price overpayment, but only
consumer willingness to pay.

   The following example, from a book on conjoint analysis cited by Mr.
Gaskin, illustrates why willingness to pay can greatly exceed market prices:

         What is your willingness to pay for a color monitor for your laptop
         computer versus a monochrome screen? Assume we conducted a
         conjoint analysis including monochrome versus color monitors. If we
         computed your willingness to pay for color over monochrome, we
         would likely find that the incremental value of color over monochrome
         is worth a thousand dollars or more. But how meaningful is this
         information to a laptop manufacturer given the fact that laptops with




17 “The results of conjoint analysis may be used to assess the price elasticity of products and services. It may also
be used to assess buyer price sensitivity and willingness to pay… Willingness to pay is a characteristic of buyers
or consumers. A measure of willingness to pay shows how much value an individual consumer places on a good
or service. It is measured in terms of money.” Bryan K. Orme, “Getting Started with Conjoint Analysis:
Strategies for Product Design and Pricing Research,” Third Edition, Research Publishers LLC, 2014, p.88. Mr.
Gaskin cites this book. Gaskin Report, p. 16.
18 “In general, the WTP [willingness to pay] measure will overstate the change in equilibrium price.” Greg

Allenby, Jeff Brazell, John Howell, and Peter Rossi, “Using Conjoint Analysis to Determine the Market Value of
Product Features.” Proceedings of Sawtooth Software Conference, October 2013, pp. 341–355 at p. 342.
19 “The quantity demanded of any good is the amount of the good that buyers are willing and able to purchase...

[D]emand curve [is] a graph of the relationship between the price of a good and the quantity demanded… The
quantity supplied of any good or service is the amount that sellers are willing and able to sell… The curve relating
price and quantity supplied is called the supply curve… [T]here is one point at which the supply and demand
curves intersect. This point is called the market’s equilibrium. The price at this intersection is called the
equilibrium price, and the quantity is called the equilibrium quantity.” N. Gregory Mankiw, Principles of
Microeconomics, Seventh Edition, (Stamford, CT: Cengage Learning, 2013), pp. 67–68, 73–74, 77.
20 “WTP measures only a shift in the demand curve and not what the change in equilibrium price will be as the

feature is added or enhanced.” Greg Allenby, Jeff Brazell, John Howell, and Peter Rossi, “Using Conjoint
Analysis to Determine the Market Value of Product Features.” Proceedings of Sawtooth Software Conference,
October 2013, pp. 341–355 at p. 342.


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         color monitors are readily available in the market at quite inexpensive
         prices? 21

    This limitation of conjoint analysis constitutes one reason to turn to actual
market data, showing the prices paid by individual consumers in actual
transactions. Such data are available, as I discuss below, but Mr. Gaskin and
Mr. Weir have not analyzed them.22 Data on actual market outcomes, such as
market prices, reflect the impact of both demand and supply factors.

   Mr. Gaskin and Mr. Weir wrongly contend that their proposed approach
accounts for the relevant supply side factors, instead of simply measuring
consumer willingness to pay.23 But the factors Mr. Gaskin and Mr. Weir
purport to consider and account for, such as competitive dynamics and actual
market prices, do not enter into their proposed approach at all. As a result, Mr.
Gaskin and Mr. Weir’s approach cannot determine how the market price would
have changed—as opposed to how consumer willingness to pay would have
changed—had Ford disclosed the alleged Defect. I now discuss two types of
supply-side factors they wrongly claim to account for.

    First, Plaintiffs’ experts wrongly claim to account for competition among
suppliers in the automobile industry.24 I agree that the competitive dynamics
in this industry are a relevant supply side factor. However, a conjoint survey of
consumer preferences and willingness to pay for certain product features would
not generate any results about how suppliers compete with each other. For
example, the proposed conjoint survey provides no information on the
competitive response of other automobile manufacturers to a disclosure by
Ford. In particular, would competitors also disclose their incidence rates, how
would their incidence rates compare to Ford’s, and how would they change
their prices and supply? Such factors would affect consumer decisions, yet are

21 Bryan K. Orme, “Getting Started with Conjoint Analysis: Strategies for Product Design and Pricing Research,”

Third Edition, Research Publishers LLC, 2014, p. 91.
22 Mr. Gaskin concedes this in his deposition: “Q: So you didn't look at any real market data or transaction prices

of vehicles with panoramic sunroofs? ... A: Well, we've got Colin Weir to do that and to consult with me on using
a proper range of prices in my design.” Gaskin Deposition, p. 95:13–19.
Mr. Weir also concedes this in his deposition: “I think to date, for purposes of demonstrating the method that Mr.
Gaskin and I have set forth, I have looked only at MSRP data and not transaction data, with an understanding
that were the case to move forward, there would be opportunities to refine that research.” Weir Deposition, p.
11:1–7. See also Weir Deposition, pp. 14:20–24, 141:5–143:8.
23 Gaskin Report, ¶ 22; Weir Report, ¶¶ 29, 34–37.

24 “…[A]nother important supply-side factor that Mr. Gaskin and I [Mr. Weir] discussed was that… the market for

the Vehicles was an "ordinary" and mature market, subject to competitive pressures that both Defendants and
retailers identified as risks to their business.” Weir Report, ¶ 37. Mr. Weir also describes the automobile market
as a highly competitive market, and market competition as an important supply side factor. Weir Report, ¶ 38.


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not part of the conjoint survey. For example, Mr. Gaskin’s proposed survey
presents respondents with hypothetical choices relating to a generic Ford SUV
but provides no information on Ford’s competitors.25 Mr. Weir’s proposed
damages calculation—which simply multiplies the so-called “conjoint
overpayment percent” by the total dollar sales of at-issue vehicles—also fails to
account for such competitive dynamics. While Mr. Weir discusses several
supply-side factors, such as competitive dynamics,26 his proposed simplistic
calculation does not incorporate them.

    Second, Plaintiffs’ experts wrongly claim they account for “the actual
market prices that prevailed during the Class Periods.”27 However, rather than
using market prices observed in actual transactions, Plaintiffs’ experts use the
Manufacturer’s Suggested Retail Price (“MSRP”).28 As discussed in Section 3.4,
actual transaction prices do not generally equal MSRPs, and are often lower
than MSRPs.




2.2.2. Plaintiffs’ Approach Does Not Attempt to Estimate the Change in Willingness to Pay for
Individual Class Members

    The second reason that Plaintiffs’ approach cannot determine the price that
specific class members would have paid had Ford disclosed the alleged defect is
that their approach only attempts to estimate the average percent change in
willingness to pay. They acknowledge that they do not attempt to assess the
percent change in willingness to pay or damages for individual class
members.29 Plaintiffs’ experts offer no evidence that the percent change in
25 Gaskin Report, p. 7, Figure 1.

26 "I have also considered supply side factors in my damages framework."    Weir Report, ¶¶ 29, 51.
27 “It is my opinion, based on conversations with Plaintiff’s economics expert, Mr. Colin Weir, that the conjoint

methodology set forth in this declaration accounts for appropriate supply side factors, including that (1) the price
range used in the survey reflects the actual market prices that prevailed during the Class Periods…” Gaskin
Report, ¶22.
28 Gaskin Report, ¶ 23.

29 For example, the so-called “conjoint overpayment percent” in Mr. Weir’s damages formula is an average and

not for any specific class member. Weir Report, ¶ 51. Mr. Weir concedes this in his deposition: “it's my
understanding that step one is to determine aggregate damages to the class, which is what I have set forth in this
report, and that damages to the class would at some point as part of claims administration be allocated to various
individuals.” Weir Deposition, p. 88:1–8. While Mr. Weir suggests that differences across class members are
just an allocation issue that can be handled through claims administration, his approach, which masks all
heterogeneity across class members, cannot assess the key issue of whether specific class members experienced
any harm.
Mr. Gaskin also concedes this in his deposition: “Q: You were not asked to develop a methodology for
determining what factors actually influenced each proposed class member's decision to purchase their vehicle,
correct? A: I'd say the same answer; I have not done that, and it's because I did not need to do that to give the
answer I need to give in this case.” Gaskin Deposition, p. 300:7–15.


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willingness to pay would be common across class members. In fact, by ignoring
transaction data, they are unable to evaluate whether there would be important
differences across class members. In the remaining sections, I explain that
their identical percent change assumption is implausible in light of academic
literature on the automobile industry and transaction data on the vehicles at
issue.


3. NUMEROUS INDIVIDUALIZED FACTORS IMPACT THE SALES PRICES
     OF VEHICLES, AS SHOWN IN THE ACADEMIC LITERATURE AND
     CONFIRMED IN THE TRANSACTION DATA

    As discussed above, Plaintiffs’ experts put forth a method that supposedly
allows them to determine the average percent change in willingness to pay due
to the Challenged Conduct. By using the average, they mask all potential
heterogeneity that could exist across class members and incorrectly assume
that all class members would be harmed. Their method cannot take into
account characteristics unique to specific proposed class members and
transactions, even setting aside some of the more fundamental shortcomings I
have discussed above. As a result, the Proposed Conjoint Method, even if
appropriately implemented, cannot determine whether specific class members
were harmed.

    An assumption of uniform impact does not fit the automobile industry,
which has considerable complexity and heterogeneity. Put simply, an
automobile is not a commodity product.30 Countless factors impact the price a
given class member paid for their vehicle, such as the dealer’s inventory, the
vehicle’s trim level, the class member’s access to information and search
process, and whether the class member traded-in another vehicle. Moreover,
many of the factors that drive price variation are not captured in the available
data, such as the mechanical condition of a used car, and some factors are
difficult to even measure, such as the bargaining power of buyers and sellers.
Thus, there are individualized and often unobserved factors driving automobile
prices that must be investigated to understand each class member’s experience




30 At his deposition, Mr. Weir conceded that automobiles do not meet the definition of a commodity: “Q. What is

your definition of a commodity product, as an economist? A. …A commodity product is one in which there is no
differentiation between the various offerings of that product….Q. Automobiles are highly differentiated, correct?
A. I would say that there is product differentiation that occurs with automobiles.” Weir Deposition, pp. 45:18–
47:4.


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and to determine the price each class member would have paid in Plaintiffs’
but-for world in which Ford disclosed the alleged defect.

    In Section 3.1, I rely on academic articles and public press to provide a non-
exhaustive illustration of the individual factors that influence automobile
prices. In Section 3.2, I use transaction data of at-issue vehicles to confirm that
the findings of the academic literature apply to this case. I find that
observationally equivalent vehicles sell for substantially different prices, even at
the same dealer. This shows that unobserved and likely individualized factors,
such as negotiation skills, can have a substantial impact on prices. Plaintiffs’
experts have ignored this complexity and heterogeneity by completely ignoring
real-world transaction data.

         3.1. The Automobile Industry is Characterized by Considerable
         Heterogeneity and Complexity so Common Impact Cannot be Assumed

    As discussed above, Plaintiffs and their experts assume a uniform impact
across class members without undertaking any analysis of the real-world
market data.31 Their assumption is belied by automobile market data and
academic literature. In fact, the academic literature on automobiles and my
analysis of the real-world data shows there cannot be a uniform impact.

    This literature shows that a variety of individualized factors affect
automobile prices and purchase decisions. In this section, I present a non-
exhaustive list, which I categorize into factors related to consumers, suppliers,
vehicles, and transaction terms. Investigation of these factors, many of which
are not captured in available data, would be necessary to determine the price a
specific class member would have paid in Plaintiffs’ but-for world. Without
accounting for these factors and their impact on prices, it is not possible to
accurately determine the effect of the Challenged Conduct on prices.




31 Mr. Gaskin states that his approach “can determine the reduction in market value (measured in dollar and/or

percentage terms) between class vehicles without the panoramic vista roof defect compared to otherwise identical
class vehicles subject to the panoramic vista roof defect.” Gaskin Report, ¶ 22. He intends to obtain a “conjoint
overpayment percent” from the conjoint survey which Mr. Weir intends to use in his “overpayment damages
calculation.” Weir Report, ¶ 51. The “conjoint overpayment percent” is a single number, which is an average
across the conjoint survey participants, and which Mr. Weir multiples by the dollar value of sales at issue to
obtain “overpayment damages.” Thus, by using a single number for the “overpayment percent” in this
calculation, they allow for no heterogeneity across class members in their “overpayment damage calculation” and
do not permit some class members to be unharmed. Weir Report, ¶ 51.


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3.1.1. Consumer Heterogeneity

    Negotiation. When an individual makes the decision to purchase a
vehicle—whether at a dealership or from a private seller—there is often some
degree of price negotiation involved in that process.32 Purchasers of vehicles
vary in their willingness to bargain: some may decide to negotiate aggressively
for months, some like the Beatys may rely on third parties (e.g., Costco) to do
part of the negotiation on their behalf,33 while others may decide not to bargain
at all, whether because of a lack of skill or willingness to do so. This can have a
large effect on the transaction price of a vehicle, as academic research has found
that those with the lowest willingness to bargain pay hundreds of dollars more
for an otherwise identical vehicle than those who like bargaining more.34

    Information and Search Process. Just as consumers differ in their
willingness to bargain, they also differ in the amount of time they are willing to
invest in researching vehicles. For example, some consumers may research
prices only at a few dealer websites, some may supplement online research with
visits to actual dealerships, some (like Jacob Beaty) may rely primarily on
independent third party reviews,35 and others may do little or no research. The
extent to which consumers are willing to search for and obtain information has
a material effect on the prices they end up paying for otherwise similar
vehicles.36 For example, academic studies have shown that the use of the
internet to learn about prices and promotions offered by other dealers can




32 Fiona Scott Morton, Jorge Silva-Risso, and Florian Zettelmeyer, “What Matters in a Price Negotiation:

Evidence From the U.S. Auto Retailing Industry,” Quantitative Marketing and Economics 9, no. 4, 2011, pp.
365–402 at p. 366; Meghan Busse and Jorge Silva-Risso, “’One Discriminatory Rent’ or ‘Double Jeopardy’:
Multi-component Negotiation for New Car Purchases,” American Economic Review: Papers and Proceedings
100, no. 2, 2010, pp. 470–474 at p. 470.
33 “Q: … [W]hat motivated you to use the Costco price? A. A friend had used it in the past. It’s a pretty simple

process that moves away from the whole back and forth with the dealer.” Jacob Beaty Deposition, Vol. 1, pp.
71:25–72:3.
34 Fiona Scott Morton, Jorge Silva-Risso, and Florian Zettelmeyer, “What Matters in a Price Negotiation:

Evidence From the U.S. Auto Retailing Industry,” Quantitative Marketing and Economics 9, no. 4, 2011, pp.
365–402 at p. 368; Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso, “How the Internet Lowers
Prices: Evidence from Matched Survey and Auto Transaction Data,” Journal of Marketing Research 43, no. 2,
2006, pp. 168–181 at pp. 178–179.
35 “Q: …[Y]ou don’t recall specifically reading information on Ford.com or Ford’s official website prior to

purchasing the Escape, you don't recall either way? A. No, I would probably have taken independent third party’s
view … on the vehicle.” Jacob Beaty Deposition, Vol. 1, p. 104:13–20.
36 Fiona Scott Morton, Jorge Silva-Risso, and Florian Zettelmeyer, “What Matters in a Price Negotiation:

Evidence From the U.S. Auto Retailing Industry,” Quantitative Marketing and Economics 9, no. 4, 2011, pp.
365–402 at p. 367; Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso, “How the Internet Lowers
Prices: Evidence from Matched Survey and Auto Transaction Data,” Journal of Marketing Research 43, no. 2,
2006, pp. 168–181 at pp. 169, 175–176.


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affect the price a purchaser ends up paying,37 and researchers have also found
that buyers who visit more dealers tend to pay less for a given vehicle.38 Much
as is the case with bargaining, this could lead to otherwise similar consumers
purchasing identical vehicles at different prices. This heterogeneity among
class members in their involvement in the search progress or use of bargaining
would lead to differences in their knowledge of and response to a Ford
disclosure, which would lead to a non-uniform impact.39




3.1.2. Supplier Heterogeneity

    Incentives and Promotions. Dealers and manufacturers regularly offer
incentives and promotions to affect vehicle prices and stimulate sales.40
Incentives can take many forms, including cash rebates from manufacturers to
purchasers, cash payments from manufacturers to dealerships, and incentives
that manufacturers offer at the time of purchase such as reduced interest
rates.41 Incentives and promotions offered by manufacturers can be applied at
the discretion of dealers to different purchasers at different points in time and
at different rates.42 Academic research has found that variation in incentives
and promotions offered by manufacturers across regions and at different points
in time (even within the same month) can cause considerable variation in
transaction prices.43

   Inventory Levels. Dealers may be more willing to negotiate prices
downward if they have a sufficiently high inventory level. For example,
academic research has shown that dealers that experience an increase in their

37 Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso, “How the Internet Lowers Prices: Evidence

from Matched Survey and Auto Transaction Data,” Journal of Marketing Research 43, no. 2, 2006, pp. 168–181
at p. 179.
38 Fiona Scott Morton, Jorge Silva-Risso, and Florian Zettelmeyer, “What Matters in a Price Negotiation:

Evidence From the U.S. Auto Retailing Industry,” Quantitative Marketing and Economics 9, no. 4, 2011, pp.
365–402 at pp. 389, 391, Table 4.
39 For example, a class member who was willing to bargain may have been able to negotiate a lower price in

response to a disclosure than a class member who would not bargain or who would have ignored a disclosure.
40 Meghan Busse, Jorge Silva-Risso, and Florian Zettelmeyer, “$1000 Cash Back: The Pass-Through of Auto

Manufacturer Promotions,” American Economic Review 96, no. 4, 2006, pp. 1253–1270 at p. 1253.
41 Meghan Busse, Jorge Silva-Risso, and Florian Zettelmeyer, “$1000 Cash Back: The Pass-Through of Auto

Manufacturer Promotions,” American Economic Review 96, no. 4, 2006, pp. 1253–1270 at p. 1253.
42 Meghan Busse, Jorge Silva-Risso, and Florian Zettelmeyer, “$1000 Cash Back: The Pass-Through of Auto

Manufacturer Promotions,” American Economic Review 96, no. 4, 2006, pp. 1253–1270 at p. 1268.
43 Meghan Busse, Jorge Silva-Risso, and Florian Zettelmeyer, “$1000 Cash Back: The Pass-Through of Auto

Manufacturer Promotions,” American Economic Review 96, no. 4, 2006, pp. 1253–1270 at pp. 1260, 1263, Table
2.


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inventory, from a low level to an average level, reduce their vehicle prices by
about $250 on average.44 This means that individuals could buy otherwise
identical vehicles but pay different amounts due to differences in inventory.
This heterogeneity among suppliers in inventory levels and use of incentives
would lead different dealers and intermediaries to respond differently to a Ford
disclosure, which in turn would lead to non-uniform impact on class members.




3.1.3. Vehicle Heterogeneity

    Condition of Used Vehicles. The at-issue vehicles vary in many
dimensions, such as their model, year, and whether they are new. For brevity, I
provide one illustrative example – the condition of used vehicles. Used vehicles
that are identical in many dimensions, such as model or year, could differ
substantially in their engine condition or exterior condition, which would lead
to price variation.45 Detailed individualized inquiry would be required then to
assess the condition of a used vehicle. The prices of used vehicles of different
condition would likely experience differential changes in response to a Ford
disclosure, again leading to a non-uniform impact.




3.1.4. Heterogeneity in Transaction Terms

    Transaction Terms. The terms of a sale – such as whether the
transaction is a lease, financed, settled in cash, and/or involves a used car trade
in – can affect the prices paid by individual buyers for identical vehicles in
otherwise identical circumstances. For example, dealers may be willing to
trade-off profits on one component of the sale (e.g., offering a lower trade-in
amount) against profits on another component (e.g., charging a lower price on
the new vehicle).46 Similarly, some buyers may be willing to accept a lower
trade-in value for their vehicle if doing so results in the dealer offering them a


44 Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso, “Scarcity Rents in Car Retailing: Evidence

from Inventory Fluctuations at Dealerships,” NBER Working Paper no. 12177, 2006, p. 3.
45 For example, the Kelley Blue Book states that, “The final sale price will likely be less depending on the vehicle's

actual condition, popularity, type of warranty offered and local market conditions.”
https://www.kbb.com/company/faq/used-cars/, accessed May 16, 2019.
46 Meghan Busse and Jorge Silva-Risso, “‘One Discriminatory Rent’ or ‘Double Jeopardy’: Multi-component

Negotiation for New Car Purchases,” American Economic Review: Papers and Proceedings 100, no. 2, May
2010, pp. 470, 473.


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lower sticker price.47 Lease transactions create additional complexity, as lease
terms like the monthly payment and the amount to purchase the vehicle at the
end of the lease, would vary across consumers.48 This heterogeneity in
transaction terms is another source of non-uniform impact across class
members.

         3.2. Transaction Data Show Considerable Variation in Prices of At-Issue
         Vehicles

   To assess whether these results from the academic literature apply to the
case at hand, I analyze actual transaction prices of at-issue vehicles. Consistent
with the academic literature, I find that transaction prices vary considerably,
even for observationally identical vehicles sold at a single dealership.

    I rely on J.D. Power’s Power Information Network (“PIN”) database.
Academic articles routinely use PIN data to analyze automobile prices.49 The
PIN data contain daily retail transaction data for new and used vehicles
collected from transactions at participating automobile dealers across the
United States.50 The PIN data contain an array of variables, such as the
transaction date, whether the vehicle is new or used, the price of the vehicle,
the vehicle’s model-year, vehicle features (such as body type, number of doors,
transmission, and number of cylinders), and geographical information on
buyers and dealers.51

    I obtained PIN data that include transactions of used and new vehicles
across the United States between January 1, 2013 and March 31, 2019 for three
Ford models: the Ford Edge, Ford Escape, and Ford Explorer. I focus on these
47 Meghan Busse and Jorge Silva-Risso, “‘One Discriminatory Rent’ or ‘Double Jeopardy’:     Multi-component
Negotiation for New Car Purchases,” American Economic Review: Papers and Proceedings 100, no. 2, May
2010, p. 472.
48 “Keys to Vehicle Leasing,” Federal Reserve Board,

https://www.federalreserve.gov/pubs/leasing/resource/different/future.htm, accessed 5/22/19.
49 See e.g., James M. Sallee, “The Surprising Incidence of Tax Credits for the Toyota Prius,” American Economic

Journal: Economic Policy 3, no. 2, 2011, pp. 189–219 at p. 192; Adam Copeland, Wendy Dunn, and George Hall,
"Inventories and the automobile market," RAND Journal of Economics 42, no. 1, 2011, pp. 121–149 at p. 123;
Ohjin Kwon et al., "The Informational Role of Product Trade-Ins for Pricing Durable Goods," The Journal of
Industrial Economics 63, no. 4, 2015, pp. 736–762 at pp. 749–750.
50 “The Power Information Network (PIN) from J.D. Power provides real-time automotive information and

decision support tools based on the collection and analysis of daily new- and used-vehicle retail transaction data
from thousands of automotive franchises.” "Power Information Network [PIN]," J.D. Power,
https://www.jdpower.com/business/solutions/power-information-network-pin, accessed April 18, 2019. More
than 40 percent of franchise dealers in the US participate in PIN. “J.D. Power Offers New Perspective with
Residual Values,” J.D. Power, January 18, 2017, available at http://www.jdpower.com/press-releases/jd-power-
residual-values, accessed May 6, 2019.
51 PIN Data. See PIN Explorer Glossary for a detailed description of the information available in the PIN

database.


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three Ford models since the other three models at-issue (the Lincoln MKS,
MKT, and MKX) account for relatively few sales.52 For example, in 2015, Ford’s
total sales of Edge, Escape, and Explorer vehicles were almost twenty times
higher than the total sales of Lincoln MKS, MKT, and MKX vehicles.53 In the
following analyses of transaction prices, I use the “Vehicle Price Less Customer
Cash Rebate” variable in the PIN data.54

    The PIN data do not show whether a given vehicle has a panoramic
sunroof.55 However, for analyses in which I want to focus on vehicles with or
without a panoramic sunroof, I am able to use the vehicle’s trim level as a proxy
for whether the vehicle has a panoramic sunroof. A vehicle’s trim level is an
industry term referring to a specific combination of vehicle features, such as the
type of seats or entertainment system.56 A higher trim level has more or better
features than the entry-level or base trim. Certain trim levels for certain at-
issue Ford models always or nearly always have panoramic sunroofs, while
others never have panoramic sunroofs. For example, the 2017 Ford Explorer
comes in one of five trim levels—Base, XLT, Limited, Sport, and Platinum.57
The 2017 Explorer Base does not provide a panoramic sunroof option, Platinum




52 Gaskin Report, ¶ 5. Mr. Gaskin does not intend to survey owners of the Lincoln models in his conjoint survey.

Gaskin Report, ¶ 5. The Lincoln vehicles introduce additional dimensions of heterogeneity, such as any
differences between the Lincoln brand and Ford brand.
53 Ford’s sales, including vehicles without PSRs, in the US in 2015 were as follows: 306,492 of the Ford Escape;

124,120 of the Ford Edge; 224,309 of the Explorer; 6,877 of the Lincoln MKS; 22,199 of the Lincoln MKX; and
4,696 of the Lincoln MKT. Ford, https://corporate.ford.com/content/dam/corporate/en/investors/investor-
events/Sales%20Calls/2017/December-2016-Sales-Release-with-tables.pdf, accessed May 9, 2019.
54 From the JD Power PIN Data Glossary: “Vehicle Price includes the price of accessories added by the factory

and/or retailer and included in the customer’s contract. These can include items to be installed subsequent to
delivery (“due bill” item). “Accessories” typically include “hard adds” (items which add to the vehicle’s book
value), such as roof racks, towing packages, wheels, and tires. Vehicle Price does not include the price of
aftermarket options (AMOs) such as fabric protectant, antitheft devices, and paint sealants.” Additionally, the
Vehicle Price includes transportation charges, but “does not include documentary preparation charges (doc fees),
taxes, license/title fees, service contracts, or insurance.” Cash rebates in the data are defined as the “cash amount
given to the customer by the manufacturer and/or retailer, and used toward the purchase or lease of a vehicle.”
PIN Glossary, pp. 8, 26–27.
55 I understand that there is no general way to determine whether a given vehicle has a panoramic sunroof

upgrade without individual investigation. For example, the PIN data relies on a vehicle’s Vehicle Identification
Number (“VIN”), which is mandated by the National Highway Traffic Safety Administration, to obtain various
vehicle characteristics, including make, model, and engine type. However, the VIN does not encode all available
options chosen by the purchaser, such as a sunroof or stereo system. JD Power PIN Data Glossary, p. 43. See
also, James M. Sallee, “The Surprising Incidence of Tax Credits for the Toyota Prius,” American Economic
Journal: Economic Policy 3, no. 2, 2011, pp. 189–219 at p. 192.
56 “Trim Levels 101: All About Trims, Styles, Options and Packages,” Edmunds, May 26, 2017,

https://www.edmunds.com/car-buying/trim-levels-101.html, accessed May 12, 2019.
57 Ford, 2017 Explorer Brochure, p. 13, http://www.auto-

brochures.com/makes/Ford/Explorer/Ford_USExplorer_2017.pdf, accessed May 12, 2019.


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    Mr. Weir contends that such a class member would still be harmed, because
he claims that the initial owner would recover only a portion of the alleged
initial overpayment at the time of selling the car (and the second owner of the
car would also incur harm).67 Specifically, he asserts that any alleged initial
overpayment would be divided between the two individuals who participated in
this transaction,68 but his logic assumes that there was an initial overpayment
due to the Challenged Conduct.69 This is an empirical question that requires
empirical analysis, which Mr. Weir has not performed. As I show in Section 4,
the real-world market data do not show an impact of the alleged defect on
market prices. Additionally, he has also not proposed a method to apportion
any alleged initial overpayment between multiple class members who owned a
given at-issue vehicle at different points in time.

         3.4. MSRPs do not Represent Prices Paid by Individual Class Members or
         the Average Price Paid by Class Members

   In lieu of using prices from actual transactions, Plaintiffs’ experts rely on
MSRPs in parts of their analysis. For example, Mr. Gaskin uses MSRPs in
choosing the price points for his conjoint survey.70 He asserts that MSRP is an
accurate proxy for the actual price paid by consumers,71 but provides no
support in his report. He further claims that by using MSRPs, he somehow
used “actual market prices that prevailed during the Class Periods.”72

    However, MSRP is not an accurate proxy for the actual price. In general,
the MSRP far exceeds transaction prices.73 This is also true for vehicles at issue
in this case. For example, the MSRP for the 2017 Ford Explorer Platinum was

67 Weir Deposition, pp. 83:18–84:3, 86:20–25 (“So everybody is impacted by the mere presence of the defect, not

its manifestation…. So the person in your hypothetical will have paid too much for that vehicle at retail and then
will pass along a portion of that damage to the person who becomes the secondary buyer of the used vehicle…
[I]n a situation where someone resells the vehicle, they have basically experienced a loss of that overpayment as
the vehicle depreciates, and then they pass on a portion of that loss to the next owner of the car.”)
68 That is, the initial owner of an at-issue vehicle would absorb some fraction of the alleged initial overpayment,

with the fraction depending on the depreciation in the value of the panoramic sunroof prior to its sale to the
second owner. For example, if the value of the panoramic sunroof does not depreciate, the alleged damage would
be fully transferred to the next owner. On the other hand, if the value of the panoramic sunroof is completely
depreciated prior to the sale of the at-issue vehicle, the first owner would absorb the full alleged damage and the
second owner would not be damaged.
69 Weir Deposition, pp. 83:18–84:3 (“So everybody is impacted by the mere presence of the defect, not its

manifestation…. So the person in your hypothetical will have paid too much for that vehicle at retail and then
will pass along a portion of that damage to the person who becomes the secondary buyer of the used vehicle.”)
70 Gaskin Report, ¶ 23.

71 Gaskin Deposition, p. 109:1–2.

72 Gaskin Report, ¶ 22.

73 For example, Consumer Reports states that “you can generally buy a vehicle for less than the sticker price,”

which it defines as the total MSRP. Consumer Reports, Guide to Car Pricing Terms, August 1, 2017,
https://www.consumerreports.org/car-pricing-negotiation/guide-to-car-pricing-terms/, accessed May 6, 2019.


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$54,180 with no optional add-ons.74 However, in the PIN data, in January
2017, the average transaction price nationwide for a new 2017 Ford Explorer
Platinum was $50,796.75 Some transaction prices were even below $48,000.
This shows that the MSRP is not an accurate proxy for prices paid by individual
class members or even the average price paid by class members.




4. TRANSACTION DATA SHOW THAT AT-ISSUE VEHICLES RETAIN
THEIR VALUE AT LEAST AS WELL AS COMPARABLE VEHICLES

    As described above, Mr. Gaskin’s assignment was “to design and describe a
market research survey and analysis that would … assess the reduction in
market value resulting from the defect in the panoramic vista roofs,”76 which
Mr. Weir intends to rely upon to calculate overpayment damages. Plaintiffs’
experts contend that analyzing actual market data would not be useful.77
Contrary to the claims of Plaintiffs’ experts, actual market data provide useful
real-world evidence on whether the prices of at-issue vehicles were
systematically lower than prices of comparison vehicles, as Plaintiffs’ theory of
harm asserts.

    If Plaintiffs’ theory of harm were correct, one would expect the prices of at-
issue vehicles to be systematically lower for two reasons. First, to the extent
that owners of Ford vehicles with panoramic sunroofs were experiencing the
defect, they would be more interested in selling their vehicle and/or willing to
accept a lower price. That is, the supply of used at-issue Ford vehicles with
panoramic sunroofs would increase, leading to a price decrease. Second, to the
extent that owners of Ford vehicles were experiencing the defect, news about
the defect may trickle out in chat rooms, product reviews, or in the news. This
would reduce consumer demand for at-issue Ford vehicles with panoramic
sunroofs, which would reduce prices. In summary, if Plaintiff’s theory of harm

74 https://web.archive.org/web/20161202012643/http:/www.kbb.com/ford/explorer/2017/platinum/#

75 This number understates the difference between the MSRP and transaction prices since some of the vehicles in

the PIN data would have costly optional add-ons, but the PIN data lacks information on some add-ons.
76 Gaskin Report, ¶ 4.

77 Mr. Weir stated this position in his deposition: “Q: Are there any non-survey-based methodologies that can be

utilized to calculate overpayment damages? A: Given that my task is to develop overpayment damages at the
time and point of first sale, and there is no market data that reflects a disclosure to consumers at the time and
point of first sale of the defect, and even to this day, that Ford denies that there even is a defect, I don’t think
there are non-survey-based methods that would be suitable in this arena.” He also stated, “since there's been no
experience that I'm aware of where Ford admitted the defect and told consumers about it when they purchased
their vehicles, there would be no market data that would reflect that condition that could be used to measure the
damages in this case.” Weir Deposition, pp. 98:5–99:19.


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were true, there would be supply-side and/or demand-side shifts that would
lead to lower prices for the at-issue vehicles. Thus, if prices of used at-issue
Ford vehicles do not decline relative to prices of appropriate comparison
vehicles, it suggests that the alleged defect did not move market prices.

    In this section, I present my analysis of prices of at-issue vehicles versus
prices of comparison vehicles. I set aside the price variation observed in
individual transactions discussed in Section 3 and analyze average prices in this
section. Previewing the findings of my five analyses, the bulk of the evidence
contradicts Plaintiffs’ claims, since at-issue vehicles tend to retain their value at
least as well over time as comparison vehicles. That is, at-issue vehicles do not
depreciate more rapidly. In summary, across these five analyses, I do not find
evidence of uniform impact or even an overall impact of the alleged defect.

4.1. Methodology

    For this analysis, I again rely on the PIN data. As discussed earlier, the PIN
data do not show whether a given vehicle has a panoramic sunroof, but do show
the trim level, which is a proxy for whether or not a given vehicle has a
panoramic sunroof. There are four specific trim levels with a high percentage of
panoramic sunroofs (“at-issue groups”): Ford Edge Sport, Ford Escape
Titanium, Ford Explorer Platinum, and Ford Explorer Sport.78

    Given that prices of used vehicles generally decline over time, it is necessary
to have an appropriate comparison vehicle without the alleged defect to serve as
a benchmark. I use two methods of constructing comparison groups. First, I
use the same model and year, but a trim level without a panoramic sunroof
option, so that none of the vehicles have the alleged defect.79 For example, I
compare the Ford Escape Titanium (at-issue group) to the Ford Escape S
(comparison group). This method ensures that the comparison group is similar
to the at-issue group along several dimensions, including the make (Ford),
model, year, and body type (Sport Utility).




78 Ford Market Offering Complexity Analysis of Panoramic Sunroofs for Edge, Escape and Explorer.

79 I rely on Ford brochures for various model-trims to identify a trim within each model that does not offer

panoramic sunroof as an option.


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5. CONCLUSION

   Plaintiffs’ experts have not attempted to put forth an approach that can
determine the harm experienced by individual class members due to the
Challenged Conduct. It is incorrect to assume that class members would be
uniformly impacted, due to the various individualized factors that impact
automobile prices, as described in the academic literature and documented in
my analysis of the transaction data of at-issue vehicles. Plaintiffs’ experts have
ignored this real-world market data and used an approach that masks the
heterogeneity across class members.

    Setting aside issues of heterogeneity among class members, Plaintiffs’
experts have also failed to provide a method that can quantify the class-wide
harm due to the Challenged Conduct. Their approach fails to account for
supply-side factors and ignores market data, among other flaws. In fact, as
shown in my five case studies of at-issue vehicles versus comparison vehicles,
the market data do not support Plaintiffs’ claim that there would be class-wide
harm from the Challenged Conduct.




                                          Executed this 24th day of May, 2019




                                          ________________________

                                          Justin McCrary, Ph.D.




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    Justin McCrary
    Columbia University                          Cell Phone:   (510) 409-6418
    School of Law                                Email:        justin.mccrary@gmail.com
    521 Jerome Greene Hall                       Homepage:     https://www.law.columbia.edu/faculty/justin-mccrary
    New York, NY 10027

    University of California, Berkeley
    School of Law
    586 Simon Hall
    Berkeley, CA 94708


    Current Appointments
            Columbia University
2018–         Paul J. Evanson Professor of Law
            University of California, Berkeley
2010–         Professor of Law
2008–10       Assistant Professor of Law
            National Bureau of Economic Research
2012–         Faculty Research Associate
2006–12       Faculty Research Fellow


    Past Appointments
            Columbia University
Fall 2017     Samuel Rubin Visiting Professor of Law
            University of California, Berkeley
2014–17       Director, Social Sciences Data Laboratory (D-Lab)
            European Central Bank (Banco de España)
2013–14       Economist
            University of Michigan
2003–07       Assistant Professor, Gerald R. Ford School of Public Policy
2003–07       Assistant Professor, Department of Economics (courtesy)
            Federal Reserve Bank of New York
1996–98       Assistant Economist


    Education
        Ph.D. Economics, University of California, Berkeley, 2003
        A.B. Public Policy, Princeton University, 1996




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Testimony Experience
   Financial Guaranty Insurance Company v. Morgan Stanley ABS Capital I Inc. and Morgan Stanley Mortgage Capital
   Holdings LLC, as successor to Morgan Stanley Mortgage Capital Inc.
   Supreme Court of the State of New York, County of New York
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley
      Deposed on May 15, 2019
      Report filed on October 19, 2018

   Cuyahoga County v. Purdue Pharma LP, et al., and Summit County v. Purdue Pharma LP, et al.,
   U.S. District Court of the Northern District of Ohio
      Prescription opioid medication litigation
      Testimony regarding causation, drug use, economics of crime, regression methodology
      Retained by Endo Pharmaceuticals Inc., Endo Health Solutions Inc., Par Pharmaceutical, Inc., and Par
      Pharmaceuticals, Inc.
      Rebuttal report filed on May 10, 2019

   Rebuttal Testimony of Powerex Corp re: BPA Southern Intertie Hourly Rate
   U.S. Department of Energy, Bonneville Power Administration
      Administrative proceeding concerning the rates for transmission of electricity
      Testimony regarding regression methodology
      Retained by Powerex Corp.
      Testimony before the Hearing Officer on April 23, 2019
      Rebuttal report filed on March 28, 2019

   Lerman v. Apple Inc.
   U.S. District Court for the Eastern District of New York
      Putative class action regarding products liability
      Testimony regarding heterogeneity across putative class members, the nature of products, and conjoint
      analysis
      Retained by Apple, Inc.
      Rebuttal report filed on April 3, 2019

   In re Foreign Exchange Benchmark Rates Antitrust Litigation
   U.S. District Court for the Southern District of New York
       Antitrust price fixing case (Sherman Act §§ 1, 3 and Commodity Exchange Act)
      Testimony regarding trader communications and sampling methodologies
      Retained by Credit Suisse
      Deposed on January 17, 2019
      Rebuttal report filed on October 25, 2018




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   Financial Guaranty Insurance Company v. Morgan Stanley ABS Capital I Inc., Morgan Stanley Mortgage Capital
   Holdings LLC, Morgan Stanley & Co. LLC, as successor to Morgan Stanley & Co. Inc., Morgan Stanley, and Saxon
   Mortgage Services, Inc.
   Supreme Court of the State of New York, County of New York
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley
      Deposed on January 8, 2019
      Report filed on August 7, 2018

   Trinidad Lopez v. Liberty Mutual Insurance Company
   U.S. District Court for the Central District of California
       Wage and hour case after class certification
      Testimony regarding damages and statistics
      Retained by Liberty Mutual
      Rebuttal report filed on December 21, 2018

   Samsung Electronics Co., Ltd., v. Kuroda Electric Co., Ltd., Sakai Display Products Corporation and Sharp Corporation
   International Chamber of Commerce
       Contractual dispute regarding supply of television panels
      Testimony regarding economic theory, data science, statistics
      Retained by Samsung Electronics Co.
      Testified at arbitration hearing on December 20, 2018
      Rebuttal report filed on September 28, 2018

   In re: Part 60 RMBS Put-Back Litigation
   Supreme Court of the State of New York, County of New York
       Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley Mortgage Capital Holdings LLC
      Deposed on November 27, 2018
      Rebuttal report filed on June 22, 2018

   In Re: RFC and ResCap Liquidating Trust Litigation
   U.S. District Court for the District of Minnesota and
   U.S. Bankruptcy Court for the Southern District of New York
      Mortgage-backed securities case
      Testimony regarding sampling, damages, and statistical concepts
      Retained by Advanced Financial Services, BMO Harris Bank, Cadence Bank, Colonial Savings, CTX Mort-
      gage, Decision One, First Guaranty, Freedom Mortgage, Home Loan Center, HSBC Mortgage, Impac Fund-
      ing, PNC, Provident, Standard Pacific, Synovus, and Universal American
      Testified at jury trial on November 1, 2018 (Minnesota; Home Loan Center)
      Final rebuttal report filed on June 14, 2018
      Deposed on April 24, 2018
      Rebuttal to supplemental disclosure filed on February 26, 2018
      Rebuttal report filed on October 27, 2017




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   Shamrell v. Apple Inc.
   Superior Court of the State of California, County of San Diego
      Putative class action regarding products liability, Unfair Competition Law and Consumers Legal Remedies
      Act
      Testimony regarding heterogeneity across putative class members, failure rate methodologies, econometrics,
      and data science
      Retained by Apple, Inc.
      Supplemental class certification report filed on October 17, 2018
      Class certification report filed on March 29, 2017
      Rebuttal report filed on February 1, 2017

   Residential Funding Company v. Universal American Mortgage Co.
   United States District Court for the District of Minnesota
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Universal American Mortgage Co.
      Rebuttal report filed on August 30, 2018

   In re Gateway Plaza Residents Litigation
   Supreme Court of the State of New York, County of New York
       Putative class action regarding warranty of habitability
      Testimony regarding electricity usage, individual preferences and choices, and heterogeneity across putative
      class members; large scale data analysis
      Retained by Gateway Plaza
      Supplemental class certification and rebuttal report filed on August 8, 2018
      Class certification report filed on September 18, 2017

   United States of America v. SavaSeniorCare
   U.S. District Court for the Middle District of Tennessee
      False Claims Act case
      Testimony regarding sampling and statistical methods
      Retained by SavaSeniorCare
      Rebuttal report filed on August 6, 2018

   Latoya Brown et al. v. Madison County, Mississippi
   U.S. District Court for the Southern District of Mississippi
      Putative class action alleging violations of Section 1983 and the Fourth and Fourteenth Amendments
      Testimony regarding regression methodologies, measurement error, and data science
      Retained by Latoya Brown et al.
      Report filed on July 2, 2018

   Martin Dulberg et al. v. Uber Technologies, Inc. and Rasier, LLC
   U.S. District Court for the Northern District of California
      Putative class action alleging breach of contract
      Testimony regarding heterogeneity in damages across putative class members
      Retained by Uber Technologies, Inc.
      Supplemental report filed on June 28, 2018
      Affirmative report filed on January 11, 2018

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   Tri-City, LLC; Endor Car and Driver, LLC; Zehn-NY, LLC; Zwei-NY, LLC; Abatar, LLC; and Flatiron Transit, LLC v.
   New York Taxi and Limousine Commission and Meera Joshi
   Supreme Court of the State of New York, County of New York
       Article 78 proceeding challenging an administrative ruling
      Testimony regarding mismatch between accessibility regulation and accessibility demand
      Retained by plaintiffs
      Supplemental report filed on May 18, 2018
      Affirmative report filed on April 13, 2018

   Federal Home Loan Bank of Boston, v. Ally Financial, Inc., et al.
   Superior Court of the State of Massachusetts, Business Litigation Session, Suffolk County
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley
      Rebuttal report filed on May 17, 2018

   Cheryl Phipps and Shawn Gibbons v. Wal-Mart Stores, Inc.
   United States District Court for the Middle District of Tennessee
      Putative class action alleging discrimination in employment
      Testimony regarding the decentralized nature of Walmart’s internal labor market and concomitant hetero-
      geneity across proposed class members in pay and promotion outcomes
      Retained by Walmart
      Deposed on April 30, 2018
      Rebuttal report filed on April 20, 2018

   People of the State of California v. Morgan Stanley & Co.
   Superior Court of the State of California, County of San Francisco
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley & Co.
      Deposed on February 9, 2018
      Rebuttal report filed on January 25, 2018

   Tony Dickey and Paul Parmer et al. v. Advanced Micro Devices, Inc.
   U.S. District Court for the Northern District of California
      Putative class action alleging false advertising
      Testimony regarding availability of information regarding and market for computer chips and heterogeneity
      across putative class members
      Retained by Advanced Micro Devices
      Rebuttal report filed on January 26, 2018

   Federal Home Loan Bank of Chicago v. Banc of America Funding Corporation, et al.
   Circuit Court of Cook County, Illinois, County Department, Chancery Division
      Mortgage-backed securities case
      Testimony regarding sampling, regression, and statistical methods
      Retained by Morgan Stanley
      Deposed on December 14, 2017
      Rebuttal report filed on August 21, 2017

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   In re Lehman Brothers Holdings, Inc., et al., Debtors
   U.S. Bankruptcy Court for the Southern District of New York
       Mortgage-backed securities case
      Testimony regarding sampling, resampling methods for inference, and statistical methods
      Retained by Lehman Brothers Holdings, Inc.
      Deposed on October 9, 2017
      Rebuttal report filed on August 28, 2017

   Deutsche Bank National Trust Company v. Morgan Stanley Mortgage Capital Holdings LLC
   U.S. District Court for the Southern District of New York
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley Mortgage Capital Holdings LLC
      Deposed on March 27, 2017
      Rebuttal report filed on December 16, 2016

   Rosen v. Uber Technologies, Inc.
   U.S. District Court for the Northern District of California
      Putative class action regarding false advertising
      Testimony regarding economics of safety
      Retained by Uber Technologies, Inc.
      Deposed on February 3, 2017
      Rebuttal report filed on January 13, 2017
      Affirmative report filed on December 2, 2016

   Blackrock Allocation Target Shares: Series S Portfolio, et al., v. Wells Fargo Bank, N.A.; Royal Park Investments SA/NV
   v. Wells Fargo Bank, N.A., as Trustee; National Credit Union Administration Board, et al., v. Wells Fargo Bank, N.A.;
   Phoenix Light SF Limited, et al., v. Wells Fargo Bank, N.A.; and Commerzbank AG v. Wells Fargo Bank, N.A.
   U.S. District Court for the Southern District of New York
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Wells Fargo Bank
      Report filed on January 18, 2017

   LA Taxi Cooperative, Inc. et al. v. Uber Technologies, Inc.
   U.S. District Court for the Northern District of California
      False advertising case
      Testimony regarding economics of safety
      Retained by Uber Technologies, Inc.
      Rebuttal report filed on January 13, 2017
      Affirmative report filed on November 18, 2016

   State of Illinois v. Hitachi Ltd., et al.
   Circuit Court of Cook County, Illinois, County Department, Chancery Division
       Antitrust price-fixing case
      Testimony regarding liability and damages
      Retained by Hitachi Ltd.
      Report filed on November 11, 2016

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   In re: City of San Bernardino, California, Debtor
   U.S. Bankruptcy Court, Central District of California, Riverside Division
       Municipal bankruptcy case
      Testimony regarding economics, econometrics, rare risks and the value of a statistical life
      Retained by the City of San Bernardino
      Report filed on October 3, 2016

   U.S. Bank National Association v. Morgan Stanley Mortgage Capital Holdings LLC
   Supreme Court of the State of New York, County of New York
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by Morgan Stanley Mortgage Capital Holdings LLC
      Deposed on September 10, 2016
      Report filed on June 17, 2016

   National Credit Union Administration Board v. RBS Securities, Inc.
   U.S. District Court for the Central District of California &
   U.S. District Court for the District of Kansas
      Mortgage-backed securities case
      Testimony regarding sampling and statistical methods
      Retained by RBS Securities
      Deposed on January 28, 2016
      Report filed on October 16, 2015

   Temple-Inland, Inc., v. Thomas Cook, et al.
   U.S. District Court for the District of Delaware
      Escheat law case
      Testimony regarding sampling, statistical methods, and economic theory
      Retained by the State of Delaware
      Deposed on November 24, 2015
      Report filed on October 23, 2015

   National Consumer Protection Service v. Farmacias Cruz Verde S.A. et al.
   Honorable Civil Court of Santiago (Chile)
      Antitrust putative class action
      Testimony regarding appropriate methods for estimating damages
      Retained by Salcobrand
      Report filed on November 14, 2015

   Douglas O’Connor, et al., v. Uber Technologies, Inc.
   U.S. District Court for the Northern District of California
      Putative class action regarding independent contractor versus employee
      Testimony regarding heterogeneity in alleged damages across putative class members, potential for class
      conflict
      Retained by Uber Technologies, Inc.
      Report filed on October 27, 2015
      Report filed on July 7, 2015


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   Students for Fair Admissions, Inc. v. President and Fellows of Harvard College
   U.S. District Court for the District of Massachusetts
      Discovery dispute in affirmative action case
      Testimony regarding necessary inputs into statistical methodologies
      Retained by Harvard College
      Report filed on July 30, 2015

   Securities and Exchange Commission v. James V. Mazzo and David L. Parker
   U.S. District Court for the Central District of California
      Civil insider trading suit
      Testimony regarding probability theory and statistics
      Retained by James V. Mazzo and David L. Parker
      Deposed on May 13, 2015
      Report filed on March 13, 2015

   In re: City of Stockton, California, Debtor
   U.S. Bankruptcy Court, Eastern District of California
       Municipal bankruptcy suit
      Testimony regarding economic theory, labor economics, and econometrics
      Retained by the City of Stockton
      Deposed on March 13, 2013
      Report filed on February 15, 2013

   In the Matter of Act 111 Interest Arbitration Between Commonwealth of Pennsylvania and Pennsylvania State Troopers
   Association
       Hearings on wage setting
      Testimony regarding rare risks and the value of a statistical life
      Retained by the Pennsylvania State Troopers Association
      Testified at arbitration hearing on December 4, 2012
      Report filed on December 4, 2012



Scholarship on Sampling, Statistics, and Econometrics
   Conservative Tests Under Satisficing Models of Publication Bias (with Garret Christensen and Daniele Fanelli)
       PLOS One, Volume 11, Number 2, February 22, 2016
   New Evidence on the Finite Sample Properties of Propensity Score Matching and Reweighting Estimators (with
   Matias Busso and John DiNardo)
       Review of Economics and Statistics, Volume 96, Number 5, December 2014
   Incomes in South Africa Since the Fall of Apartheid (with Murray Leibbrandt and James Levinsohn)
       Journal of Globalization and Development, Volume 1, Issue 1, January 2010
   Manipulation of the Running Variable in the Regression Discontinuity Design: A Density Test
       Journal of Econometrics, Volume 142 , Issue 2, February 2008


Scholarship on Competition
   Measuring Benchmark Damages in Antitrust Litigation (with Daniel L. Rubinfeld)
       Journal of Econometric Methods, Volume 3, January 2014

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Scholarship on Finance
   Dark Trading at the Midpoint: Pricing Rules, Order Flow, and Price Discovery (with Robert Bartlett)
       Accepted, Journal of Law, Finance, and Accounting
   How Rigged Are Stock Markets?: Evidence from Microsecond Timestamps (with Robert Bartlett)
      Conditionally Accepted, Journal of Financial Markets
   Subsidizing Liquidity with Wider Ticks: Evidence from the Tick Size Pilot Study Timestamps (with Robert
   Bartlett)
        Conditionally Accepted, Journal of Empirical Legal Studies

   Shall We Haggle in Pennies at the Speed of Light or in Nickels in the Dark?: How Minimum Price Variation
   Regulates High Frequency Trading and Dark Liquidity (working paper, 2015, with Robert Bartlett)


Scholarship on Risk and Crime
   Are U.S. Cities Underpoliced? Theory and Evidence (with Aaron Chalfin)
       Review of Economics and Statistics, Volume 100, Issue 1, March 2018, 167–186
   Criminal Deterrence: A Review of the Literature (with Aaron Chalfin)
       Journal of Economic Literature, Volume 55, Number 1, March 2017, 5–48 (lead article)
   The Deterrence Effect of Prison: Dynamic Theory and Evidence (with David S. Lee)
        Advances in Econometrics, Volume 38, 2017, editors Matias D. Cattaneo and Juan Carlos Escanciano
       2018 Emerald Literati Award, Outstanding Author Contribution
   Do Sexually Violent Predator Laws Violate Double Jeopardy or Substantive Due Process: An Empirical Inquiry
   (with Tamara Lave)
        Brooklyn Law Review, Volume 78, Summer 2013, Number 4, 1391–1439
   General Equilibrium Effects of Prison on Crime: Evidence From International Comparisons (with Sarath Sanga)
       Cato Papers on Public Policy, Volume 2, 2012
   Controlling Crime: Strategies and Tradeoffs (co-edited with Phil Cook and Jens Ludwig), Chicago: University of
   Chicago Press, 2011.


Scholarship on Labor Economics
   Unmarked? Criminal Record Clearing and Employment Outcomes (with Jeffrey Selbin (lead author) and
   Joshua Epstein)
        Journal of Criminal Law and Criminology, Volume 108, Number 1, 2017 (lead article)
   The Effect of Female Education on Fertility and Infant Health: Evidence from School Entry Laws Using Exact
   Date of Birth (with Heather Royer)
        American Economic Review, Volume 101, Number 1, February 2011
   Comment on “Free to Punish? The American Dream and the Harsh Treatment of Criminals”, by Rafael di Tella
   and Juan Dubra
        Cato Papers on Public Policy, Volume 1, 2011
   Dynamic Perspectives on Crime
       in Handbook of the Economics of Crime, Chapter 4, Edward Elgar, 2010
   The Effect of Court-Ordered Hiring Quotas on the Composition and Quality of Police
        American Economic Review, Volume 97, Number 1, March 2007
   Using Electoral Cycles in Police Hiring to Estimate the Effect of Police on Crime: Comment
       American Economic Review, Volume 92, Number 4, September 2002


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     Other Scholarship
        The Ph.D. Rises in American Law Schools, 1960-2011: What Does It Mean for Legal Education? (with Joy
        Milligan and James Phillips)
             Journal of Legal Education, Volume 65, Number 543, Spring 2016

        Following Germany’s Lead: Using International Monetary Linkages to Estimate the Effect of Monetary Policy
        on the Economy (with Julian di Giovanni and Till von Wachter)
             Review of Economics and Statistics, Volume 91, Number 2, May 2009


     Other Activities
2017–      Member, Board of Directors, American Law and Economics Association
2007–      Co-Director (with Phil Cook and Jens Ludwig), Crime Working Group, National Bureau of Economic Research

2009–2014 Co-Director, Law and Economics Program, University of California, Berkeley


     Courses Taught
     Columbia
2018-2019 L6916: Litigation, Economics, and Statistics (Fall); L6231: Corporations (Spring)
2017-2018 L6231: Corporations (Fall)

     Berkeley
2016-2017 Law 244.4: Litigation and Statistics (Fall); Law 216: Law and Economics Workshop (Fall); Law 218.6: Law
          and Economics of Discrimination (Fall)
2015-2016 Law 250: Business Associations (Fall); Law 244.4: Litigation and Statistics (Fall); Letters and Science 39D:
          Race, Policing, and Data Science (Fall)
2014-2015 Law 250: Business Associations (Fall); Law 250S: Business Associations (Summer)
2013-2014 Law 250S: Business Associations (Summer)
2012-2013 Law 250: Business Associations (Fall); Law 250S: Business Associations (Summer); Law 209.3: Introductory
          Statistics (Fall)
2011-2012 Law 250: Business Associations (Fall); Law 250S: Business Associations (Summer); Law 209.3: Introductory
          Statistics (Fall); Law 251.31: Introduction to Law, Economics, and Business (Spring); Legal Studies 145: Law
          and Economics I (undergraduate)
2010-2011 Law 250: Business Associations (Fall); Law 250S: Business Associations (Summer); Law 216: Law and Eco-
          nomics Workshop (Fall and Spring); Legal Studies 145: Law and Economics I (undergraduate); Law 209.6:
          Topic in Quantitative Methods (JSP); Econ 250C: Labor Economics (graduate, shared course with 209.6)
2009–2010 Law 216: Law and Economics Workshop (Fall and Spring); Law 209.32: Quantitative Methods II (JSP)
2008–2009 Legal Studies 145: Law and Economics I (undergraduate); Law 209.3: Quantitative Methods I (JSP); Law
          209.32: Quantitative Methods II (JSP)

2007–2008 Legal Studies 145: Law and Economics I (undergraduate); Law 209.3: Quantitative Methods I (JSP)

     Michigan
     Introduction to Quantitative Methods (policy), First Econometrics Field Course (economics), Advanced Economic
     Theory (policy)

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       Grants and Fellowships
2007–2010 NIH, Constructive Proposals for Dealing With Attrition (with John DiNardo)
2009        Committee on Research, Junior Faculty Research Grant, UC Berkeley

2006–2009 NIH, The Effect of Female Education on Fertility and Infant Health (with Heather Royer, Grant # R03
          HD051713)
2006–2011 NSF, New Instrumental Variables Estimates of the Effects of Schooling and Military Service: Empirical
          Strategies Using Non-Public-Use Data (with Josh Angrist and Stacey Chen)

2005        RWJ Foundation Health and Society Scholars Program, Small Grant Program
2004        Rackham Interdisciplinary Grant, University of Michigan
2004        CLOSUP Grant, University of Michigan
2004        National Poverty Center Grant, University of Michigan

2002–2003 Chancellor’s Dissertation Year Fellowship, UC Berkeley


       Presentations
2018–2019 Columbia University, School of Law; Conference on Empirical Legal Studies, University of Michigan
2017–2018 Columbia University, School of Law; Georgetown University, School of Law
2016–2017 George Mason University, School of Law; University of Michigan, Economics Department (Summer, Fall);
          Equities Leaders Summit; University of Zürich, Department of Economics; ETH (Swiss Federal Institute of
          Technology) Zürich, Law and Economics; Northwestern University, School of Law; Duke University, School
          of Law; Duke University, Information Initiative
2015–2016 Goldman Sachs; University of California, Berkeley, School of Law; University of Virginia, School of Law;
          University of California, Irvine; Equal Employment Opportunity Commission; National Bureau of Economic
          Research, Summer Institute
2014–2015 Duke University; Federal Reserve Bank of New York; Equal Employment Opportunity Commission (EEO-
          DataNet); American Law and Economics Association (discussant); New York University (NYU / Penn Law
          and Finance Conference); National Bureau of Economic Research, Summer Institute (discussant)
2013–2014 University of Southern California, School of Law; London School of Economics; Bank of Spain; CEMFI; Car-
          los III; University of Zaragoza; University of Rotterdam; University of Maastricht; University of Götenborg
2012–2013 University of California, Los Angeles, School of Law
2011–2012 University of Oregon, Department of Economics; University of British Columbia, Department of Economics;
          Brown University, Department of Economics; University of Rochester, Department of Economics; Cato Insti-
          tute; National Bureau of Economic Research, Summer Institute; Harvard Law School
2010–2011 Northwestern, School of Law; University of Wisconsin, Department of Economics; Brookings Institution;
          Cato Institute
2009–2010 University of Chicago, School of Law; Cornell University, School of Law and Department of Economics;
          University of Michigan, School of Law and Department of Economics; University of Virginia, School of Law,
          Olin Conference
2008–2009 University of California, Los Angeles, School of Law; University of Arizona, School of Law and Department
          of Economics; Stanford University, School of Law and Department of Economics; University of Miami,
          Department of Economics
2007–2008 Northwestern University, School of Law; University of Michigan, Department of Economics; National Bureau
          of Economic Research, Summer Institute; Florida State University

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           Prior to 2007–2008, presentations are at departments of economics, unless otherwise noted

2006–2007 University of Michigan, Program in Survey Methodology; Public Policy Institute of California; Brown Uni-
          versity
2005–2006 University of Michigan; University of California, Irvine; University of California, Santa Barbara; University
          of California, Santa Cruz; California State University, Long Beach; University of Western Ontario; University
          of Toronto; University of Illinois, Chicago; University of Chicago, Graduate School of Business; APPAM; Uni-
          versity of Florida; University of California, Berkeley, School of Law; Princeton University; RAND; Hebrew
          University (conference in honor of Reuben Gronau); Stanford University, University of Wisconsin, Madison;
          Northwestern University; Crime and Economics Summer Workshop, University of Maryland
2004–2005 Federal Reserve Bank of Chicago; University of Illinois, Urbana-Champaign; University of Michigan, William
          Davidson Institute; University of Maryland; Urban Institute; American Economics Association Meetings;
          City University of New York Health Economics Seminar; University of Wisconsin, Madison; Stanford Uni-
          versity; University of California, Davis; University of California, Berkeley, Labor Lunch; NBER Summer
          Institute, Education/Labor Studies
2003–2004 University of Michigan; APPAM; NBER Labor Studies Meeting (Fall); Massachusetts Institute of Technology;
          Harvard University, Kennedy School; University of California, Los Angeles; University of California, San
          Diego; Columbia University; University of California, Berkeley; NBER Summer Institute, Monetary Policy;
          NBER Summer Institute, Labor Studies
2002–2003 University of California, San Diego; University of California, Los Angeles; RAND Institute; University of
          Chicago, Graduate School of Business; University of Chicago, Harris School of Public Policy; University of
          Michigan, Ford School of Public Policy; Columbia University; Dartmouth College; Federal Reserve Bank of
          New York; Boston University



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Document Title                                                          Document Date

Legal Pleadings


Class Action Complaint, Jacob Beaty and Jessica Beaty vs. Ford Motor
Company                                                                 March 16, 2017

Stipulated Motion to Amend the Class Definition And Proposed Order,
Jacob Beaty and Jessica Beaty vs. Ford Motor Company                    March 27, 2019



Depositions, including Exhibits

Deposition of Steven P. Gaskin                                          March 26, 2019

Deposition of Colin Weir                                                March 28, 2019

Deposition of Jacob Beaty, Vol. 1                                       May 14, 2019

Deposition of Jacob Beaty, Vol. 2                                       May 15, 2019

Deposition of Jessica M. Beaty                                          May 15, 2019



Expert Reports

Expert Report of Colin B. Weir                                          February 22, 2019

Expert Report of Neil Hannemann                                         February 22, 2019

Expert Report of Steven P. Gaskin                                       February 22, 2019



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http://www.autobrochures.com/makes/Ford/Explorer/Ford_US%20Explo
rer_2017.pdf

“2017 Ford Explorer Model Overview,” Motortrend,
https://www.motortrend.com/cars/ford/explorer/2017/

“2017 Ford Explorer Pricing,” Kelley Blue Book,
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tables.pdf                                                                 January 4, 2017

“Frequently Asked Questions: Used Car,” Kelley Blue Book,
https://www.kbb.com/company/faq/used-cars/

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“J.D. Power Offers New Perspective with Residual Values,” J.D. Power
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“Keys to Vehicle Leasing,” Federal Reserve Board,
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“Power Information Network [PIN],” J.D. Power,
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Adam Copeland, Wendy Dunn, and George Hall, “Inventories and the
automobile market,” RAND Journal of Economics 42, no. 1                    2001

Bryan K. Orme, “Getting Started with Conjoint Analysis: Strategies for
Product Design and Pricing Research,” Third Edition, Research
Publishers LLC                                                             2014

Fiona Scott Morton, Jorge Silva-Risso, and Florian Zettelmeyer, “What
Matters in a Price Negotiation: Evidence From the U.S. Auto Retailing
Industry,” Quantitative Marketing and Economics 9, no. 4                   2011

Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso, “How
the Internet Lowers Prices: Evidence from Matched Survey and Auto
Transaction Data,” Journal of Marketing Research 43, no. 2                 2006

Florian Zettelmeyer, Fiona Scott Morton, and Jorge Silva-Risso,
“Scarcity Rents in Car Retailing: Evidence from Inventory Fluctuations
at Dealerships,” NBER Working Paper no. 12177                              2006



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Value of Product Features.” Proceedings of Sawtooth Software
Conference.                                                             October 2013

James M. Sallee, “The Surprising Incidence of Tax Credits for the
Toyota Prius,” American Economic Journal: Economic Policy 3, no. 2      2011

Jan Dijkstra, W. A. H. Roelen, and H. J. P. Timmermans, “Conjoint
measurement in virtual environments: a framework,” In Proceedings of
3rd Design and Decision Support Systems in Architecture and Urban
Planning Conference Vol. 1                                              1996

Meghan Busse and Jorge Silva-Risso, “‘One Discriminatory Rent’ or
‘Double Jeopardy’: Multi-component Negotiation for New Car
Purchases,” American Economic Review: Papers and Proceedings 100,
no. 2                                                                   2010

Meghan Busse, Jorge Silva-Risso, and Florian Zettelmeyer, “$1000 Cash
Back: The Pass-Through of Auto Manufacturer Promotions,” American
Economic Review 96, no. 4                                               2006

N. Gregory Mankiw, Principles of Microeconomics, Seventh Edition,
Stamford, CT: Cengage Learning                                          2013

Ohjin Kwon et al., "The Informational Role of Product Trade-Ins for
Pricing Durable Goods.” The Journal of Industrial Economics 63, no. 4   2015

Ronald Montoya, “Trim Levels 101: All about Trims, Styles, Options
and Packages”, Edmunds,
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Ford Market Offering Complexity Analysis of Panoramic Sunroofs for
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JD Power PIN Data

JD Power PIN Data Glossary




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